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 4
     Attorney for Defendant
 5   RUBEN CAMPOS
 6
 7                                  UNITED STATES DISTRICT COURT
 8                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                  )
                                         D.C. No. CR 05-00117-PHJ
10                                       )     (San Francisco)
                       Plaintiff,        )
11                                       )     STIPULATION TO
           vs.                           )     MODIFY CONDITIONS
12                                       )     OF PRETRIAL RELEASE
     DAVID DOMINGUEZ, et al.             )     AND [PROPOSED] ORDER
13                                       )
                       Defendant.        )
14   _________________________________ )       Judge: Hon. Joseph C. Spero
15
             Defendant DAVID DOMINGUEZ, by and through his counsel Michael L.
16
     Hinckley, defendant RUBEN CAMPOS, by and through his counsel Suzanne A. Luban,
17
     and the United States of America, through Assistant United States Attorney C. David
18
     Hall, hereby stipulate and agree to a modification of the aforementioned defendants’
19
     pretrial release conditions such that they be permitted to travel to all districts in the
20
     State of California without restriction. Pretrial Services Officer Tim Elder, has
21
     advised counsel for Mr. Campos that he has no objection to the proposed
22
     modification. Mr. Campos and Mr. Dominguez are both on pretrial release secured by
23
     property bonds. Both defendants recently entered pleas pursuant to negotiated plea
24
     agreements.
25
             The Government and the defendant, by and through their attorneys, hereby agree
26
     and stipulate that the Court shall enter an order modifying the pretrial release
27
     conditions of Mr. Campos and Mr. Dominguez to allow the defendants to travel
28

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 1   throughout the State of California without restriction. The defendants shall continue
 2   to abide by all other conditions of their release.
 3
 4                                                            Respectfully submitted,
 5
 6   DATED: January 6, 2006                                       /S/ C. David Hall
                                                              C. DAVID HALL
 7                                                            Assistant U.S. Attorney
 8
 9   DATED: January 6, 2006                                         /S/ Suzanne A. Luban
                                                              SUZANNE A. LUBAN
10                                                            Attorney for Defendant Campos
11
12   DATED: January 6, 2006                                         /S/ Michael L. Hinckley
                                                              MICHAEL L. HINCKLEY
13                                                            Attorney for Defendant Dominguez
14
15
16
17                                                  ORDER
18           Pursuant to stipulation, the aforementioned defendants’ pretrial release
19   conditions are modified such that they are permitted to travel throughout the State of
20   California without restriction during the pendency of this case. All other terms and
21   conditions are to remain the same.
22   IT IS SO ORDERED.
23   Dated: January 9, 2006
24
                                                              JOSEPH C. SPERO
25                                                            U.S. MAGISTRATE JUDGE
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